              Case 2:24-cv-00279-ST Document 6 Filed 01/16/24 Page 1 of 2 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District of New York


               Marco Defaz and Ney Araujo,                            )
                       individually                                   )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:24-cv-00279-ST
                                                                      )
  Westar Construction Group, Inc. and Nicholas                        )
Grgas, Thomas Nicholas Grgas and Kristen Grgas,                       )
                  individually                                        )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See attachment




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Offices of Jacob Aronauer
                                           250 Broadway Suite 600
                                           New York, NY 10007




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                 #3&//" # .")0/&:
                                                                                 CLERK OF COURT


Date:    01/16/2024
                                                                                           Signature of Clerk or Deputy Clerk
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                                   2:24-cv-00279-ST


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